                                                                                                FORM 1
                                                                                                                                                                                        Page No:    1
                                                                            INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                             ASSET CASES

Case No.:                          21-20287                                                                                                                  Trustee Name:                           Daniel C. Himmelspach
Case Name:                         GREAT LAKES PETROLEUM CORPORATION                                                                                         Date Filed (f) or Converted (c):        06/23/2021 (c)
For the Period Ending:             04/01/2022                                                                                                                §341(a) Meeting Date:                   07/21/2021
                                                                                                                                                             Claims Bar Date:                        01/24/2022
                                       1                                                 2                               3                             4                        5                                        6

                          Asset Description                                         Petition/                  Estimated Net Value                  Property              Sales/Funds              Asset Fully Administered (FA)/
                           (Scheduled and                                         Unscheduled                 (Value Determined by                  Abandoned             Received by              Gross Value of Remaining Assets
                      Unscheduled (u) Property)                                      Value                           Trustee,                 OA =§ 554(a) abandon.        the Estate
                                                                                                             Less Liens, Exemptions,
                                                                                                                and Other Costs)

Ref. #
1        Union Bank - negative balance of $78835.00                                          $0.00                                    $0.00                                           $0.00                                          FA
2        Semi Trucks                                                               $4,515,000.00                              $69,384.00                                         $69,384.00                                          FA
3        Service pickups                                                              $41,000.00                              $10,542.00                                         $10,542.00                                          FA
4        Trailers                                                                    $480,000.00                             $139,460.00                                        $139,460.00                                          FA
5        VOID                                                                                $0.00                                    $0.00                                           $0.00                                          FA
6        VOID                                                                                $0.00                                    $0.00                                           $0.00                                          FA
7        VOID                                                                                $0.00                                    $0.00                                           $0.00                                          FA
8        VOID                                                                                $0.00                                    $0.00                                           $0.00                                          FA


TOTALS (Excluding unknown value)                                                                                                                                                                        Gross Value of Remaining Assets
                                                                                  $5,036,000.00                              $219,386.00                                        $219,386.00                                      $0.00



Major Activities affecting case closing:
 03/31/2022         Trustee is resolving administrative claims/adequate protection claims and preparation of tax returns as needed.
 07/01/2021         Case open to investigate and liquidate any assets of the estate.


Initial Projected Date Of Final Report (TFR):               06/30/2022                            Current Projected Date Of Final Report (TFR):            12/31/2022               /s/ DANIEL C. HIMMELSPACH
                                                                                                                                                                                    DANIEL C. HIMMELSPACH
                                                                                                                                                                                    Chapter 7 Trustee
                                                                                                                                                                                    PO Box 5856
                                                                                                                                                                                    Saginaw, MI 48603
                                                                                                                                                                                    Tel: (989) 790-0400
                                                                                                                                                                                    trusteehimmelspach@gmail.com




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                                                             CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                       21-20287                                                                                      Trustee Name:                         Daniel C. Himmelspach
Case Name:                     GREAT LAKES PETROLEUM CORPORATION                                                             Bank Name:                            Veritex Community Bank
Primary Taxpayer ID #:         **-***9535                                                                                    Checking Acct #:                      ******8701
Co-Debtor Taxpayer ID #:                                                                                                     Account Title:
For Period Beginning:          03/31/2021                                                                                    Blanket bond (per case limit):        $2,000,000.00
For Period Ending:             04/01/2022                                                                                    Separate bond (if applicable):


     1                2                         3                                                4                                                  5                    6                    7

Transaction      Check /                      Paid to/                  Description of Transaction                            Uniform            Deposit           Disbursement             Balance
   Date           Ref. #                   Received From                                                                     Tran Code             $                    $


10/28/2021                  Orbitbid.com Inc.                   Sale Proceeds p/o 9/13/2021                                       *             $219,386.00                    $0.00          $219,386.00
                     {2}                                        Sale Proceeds p/o 9/13/2021                    $69,384.00     1129-000                                                       $219,386.00
                     {4}                                        Sale Proceeds p/o 9/13/2021                   $139,460.00     1129-000                                                       $219,386.00
                     {3}                                        Sale Proceeds p/o 9/13/2021                    $10,542.00     1129-000                                                       $219,386.00
10/29/2021                  Veritex Community Bank              Bank Service Fee                                              2600-000                  $0.00                 $45.68          $219,340.32
11/30/2021                  Veritex Community Bank              Bank Service Fee                                              2600-000                  $0.00                $342.53          $218,997.79
12/16/2021           3001   Orbitbid.com                        Auctioneer Fees and Expenses p/o 12/14/2021                       *                     $0.00           $24,852.88            $194,144.91
                                                                Auctioneer Fees p/o 12/14/2021                ($10,969.30)    3610-000                                                       $194,144.91
                                                                Auctioneer Expenses p/o 12/14/2021            ($13,883.58)    3620-000                                                       $194,144.91
12/31/2021                  Veritex Community Bank              Bank Service Fee                                              2600-000                  $0.00                $339.16          $193,805.75
01/25/2022           3002   MRSC Insurance Partners, LLC        2022 Blanket Bond                                             2300-000                  $0.00                 $20.25          $193,785.50
01/31/2022                  Veritex Community Bank              Bank Service Fee                                              2600-000                  $0.00                $312.74          $193,472.76
02/28/2022                  Veritex Community Bank              Bank Service Fee                                              2600-000                  $0.00                $282.00          $193,190.76
03/31/2022                  Veritex Community Bank              Bank Service Fee                                              2600-000                  $0.00                $311.75          $192,879.01




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                                                                                                                             SUBTOTALS           $219,386.00            $26,506.99
                                                                                          FORM 2                                                                        Page No: 2
                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        21-20287                                                                                              Trustee Name:                        Daniel C. Himmelspach
Case Name:                      GREAT LAKES PETROLEUM CORPORATION                                                                     Bank Name:                           Veritex Community Bank
Primary Taxpayer ID #:          **-***9535                                                                                            Checking Acct #:                     ******8701
Co-Debtor Taxpayer ID #:                                                                                                              Account Title:
For Period Beginning:           03/31/2021                                                                                            Blanket bond (per case limit):       $2,000,000.00
For Period Ending:              04/01/2022                                                                                            Separate bond (if applicable):


    1                2                          3                                                        4                                                    5                  6                    7

Transaction      Check /                     Paid to/                            Description of Transaction                             Uniform          Deposit           Disbursement             Balance
   Date           Ref. #                  Received From                                                                                Tran Code           $                    $



                                                                                           TOTALS:                                                        $219,386.00                $26,506.99        $192,879.01
                                                                                               Less: Bank transfers/CDs                                         $0.00                     $0.00
                                                                                           Subtotal                                                       $219,386.00                $26,506.99
                                                                                               Less: Payments to debtors                                        $0.00                     $0.00
                                                                                           Net                                                            $219,386.00                $26,506.99




                     For the period of 03/31/2021 to 04/01/2022                                                      For the entire history of the account between 10/28/2021 to 4/1/2022

                     Total Compensable Receipts:                       $219,386.00                                   Total Compensable Receipts:                               $219,386.00
                     Total Non-Compensable Receipts:                         $0.00                                   Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                     $219,386.00                                   Total Comp/Non Comp Receipts:                             $219,386.00
                     Total Internal/Transfer Receipts:                       $0.00                                   Total Internal/Transfer Receipts:                               $0.00


                     Total Compensable Disbursements:                      $26,506.99                                Total Compensable Disbursements:                           $26,506.99
                     Total Non-Compensable Disbursements:                       $0.00                                Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:                    $26,506.99                                Total Comp/Non Comp Disbursements:                         $26,506.99
                     Total Internal/Transfer Disbursements:                     $0.00                                Total Internal/Transfer Disbursements:                          $0.00




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                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        21-20287                                                                                           Trustee Name:                        Daniel C. Himmelspach
Case Name:                      GREAT LAKES PETROLEUM CORPORATION                                                                  Bank Name:                           Veritex Community Bank
Primary Taxpayer ID #:           **-***9535                                                                                        Checking Acct #:                     ******8701
Co-Debtor Taxpayer ID #:                                                                                                           Account Title:
For Period Beginning:           03/31/2021                                                                                         Blanket bond (per case limit):       $2,000,000.00
For Period Ending:              04/01/2022                                                                                         Separate bond (if applicable):


    1                2                           3                                                        4                                                5                  6                    7

Transaction      Check /                     Paid to/                             Description of Transaction                         Uniform           Deposit          Disbursement             Balance
   Date           Ref. #                  Received From                                                                             Tran Code            $                   $



                                                                                                                                                                                  NET               ACCOUNT
                                                                                           TOTAL - ALL ACCOUNTS                               NET DEPOSITS                   DISBURSE              BALANCES

                                                                                                                                                      $219,386.00            $26,506.99            $192,879.01




                     For the period of 03/31/2021 to 04/01/2022                                                   For the entire history of the account between 10/28/2021 to 4/1/2022

                     Total Compensable Receipts:                       $219,386.00                                Total Compensable Receipts:                              $219,386.00
                     Total Non-Compensable Receipts:                         $0.00                                Total Non-Compensable Receipts:                                $0.00
                     Total Comp/Non Comp Receipts:                     $219,386.00                                Total Comp/Non Comp Receipts:                            $219,386.00
                     Total Internal/Transfer Receipts:                       $0.00                                Total Internal/Transfer Receipts:                              $0.00


                     Total Compensable Disbursements:                      $26,506.99                             Total Compensable Disbursements:                          $26,506.99
                     Total Non-Compensable Disbursements:                       $0.00                             Total Non-Compensable Disbursements:                           $0.00
                     Total Comp/Non Comp Disbursements:                    $26,506.99                             Total Comp/Non Comp Disbursements:                        $26,506.99
                     Total Internal/Transfer Disbursements:                     $0.00                             Total Internal/Transfer Disbursements:                         $0.00




                                                                                                                                                    /s/ DANIEL C. HIMMELSPACH
                                                                                                                                                    DANIEL C. HIMMELSPACH
                                                                                                                                                    Chapter 7 Trustee
                                                                                                                                                    PO Box 5856
                                                                                                                                                    Saginaw, MI 48603
                                                                                                                                                    Tel: (989) 790-0400
                                                                                                                                                    trusteehimmelspach@gmail.com


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